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1    RESHMA KAMATH,
     700 El Camino Real, Suite 120, #1084
2
     Menlo Park, California 94025, United States
3    Ph.: 650 257 0719, E.: reshmakamath2021@gmail.com
     IN PROPRIA PERSONA
4
5
                       IN AND FOR THE UNITED STATES DISTRICT COURT
6                            NORTHERN DISTRICT OF CALIFORNIA

7                                             Case No.: 5:23-cv-05153-SVK

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                                              RE-APPOINTEE AND RACIST SUSAN VAN
10                                            KALEN’S ASS-LICKING i OF MALE
     RESHMA KAMATH,                           ATTORNEYS AND MALE LITIGANTS (ECF
11                                            #41);
     Plaintiff,
12
13                                            RE-APPOINTEE AND RACIST SUSAN VAN
     v.                                       KALEN’S FAILURE IN PROVIDING FIFTH
14                                            AMENDMENT DUE PROCESS NOTICE AND
     BIZ2CREDIT, INC., a New York             OPPORTUNITY TO BE HEARD IN ORAL
15   corporation; PATRICK COLE, agent of      ARGUMENT.
16   BIZ2CREDIT with pseudonym; ITRIA
     VENTURES, LLC, a Delaware LLC;
17   AMIT MISHRA, an individual; SUMMIT
     ARORA, CEO of BIZ2CREDIT; AND
18   DOES 1-10, INCLUSIVE,
19
     Defendants
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27       TO THE HONORABLE COURT, ALL PARTIES, AND ATTORNEYS OF
28   RECORD, HEREIN:



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1                                         INTRODUCTION
2
             PLAINTIFF RESHMA KAMATH informs RE-APPOINTEE AND RACIST SUSAN
3
     VAN KALEN’S that VAN KALEN’S ASS-LICKING OF MALE ATTORNEYS AND
4
     MALE LITIGANTS (ECF #41) should refrain.
5
6            As a fellow woman, PLAINTIFF RESHMA KAMATH advises that RE-APPOINTEE

7    AND RACIST SUSAN VAN KALEN could invest in some hair-dye and change her
8
     abominable picture on the CAND website. The reason is her ugliness, hate and prejudice from
9
     the inside is starting to show outwardly. This occurred years ago but no one made RE-
10
11   APPOINTEE AND RACIST SUSAN VAN KALEN aware of what kind of disgusting judicial

12   officer she is.
13           PLAINTIFF RESHMA KAMATH also informs that RE-APPOINTEE AND RACIST
14
     SUSAN VAN KALEN is taking away the FIFTH AMENDMENT DUE PROCESS RIGHT
15
     OF NOTICE AND OPPORTUNITY TO BE HEARD as her trashy White brain cannot
16
17   comprehend simple legal arguments from intelligent women of color.

18           The destruction of the UNITED STATES that started many an eons ago will continue
19
     with such judicial officers that promulgate such trashy opinions.
20
             RE-APPOINTEE AND RACIST SUSAN VAN KALEN should be proud and happy
21
22   that she is supporting RAPE CULTURE in the United States in promoting the voices of Asian

23   men particularly that of Indian men such as defendants MISHRA, ARORA, COLE, and their

24   attorney, RACIST TAKENOUCHI.
25
             The crème de la crème of Indians such as PLAINTIFF RESHMA KAMATH will soon
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     re-emigrate back from the United States, and CAND will be left (as they currently are) to
27
28   clean the trash.



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     DATED: MAY 15, 2024                    RESHMA KAMATH
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4                                           /S/ Reshma Kamath
5                                           Reshma Kamath,
                                            In Propria Persona
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1                                      PROOF OF SERVICE
             F.R.C.P. 5 / C.C.P. § 1013(a)(3), C.C.P. § 1010.6(a)(6) / Cal. R. Ct. R. 2.260
2
3    I am employed in the County of San Mateo, California. I am over the age of 18, and not a party
     to this action. My business address is: 700 El Camino Real Suite 120, #1084, Menlo Park,
4    California 94025, and electronic-mail address is reshmakamath2021@gmail.com for electronic
     service. On May 15, 2024, I served the following document(s), by method(s) indicated below, on
5
     the parties in this action: SEE ATTACHED SERVICE LIST.
6
     RE-APPOINTEE AND RACIST SUSAN VAN KALEN’S ASS-LICKING ii OF MALE
7    ATTORNEYS AND MALE LITIGANTS (ECF #41);
8
     RE-APPOINTEE AND RACIST SUSAN VAN KALEN’S FAILURE IN PROVIDING
9    FIFTH AMENDMENT DUE PROCESS NOTICE AND OPPORTUNITY TO BE HEARD
     IN ORAL ARGUMENT.
10
11   ELECTRONIC SERVICE
     In electronically transmitting courtesy copies of the document (s) listed above to the email-
12   address(es) of the person(s) set forth on the attached service list. To my knowledge, the
     transmission was reported as complete and without error, as per the electronic service agreement
13   between all parties and their attorneys of record, herein. [NOTICE OF C.C.P. SECTION
14   1010.6.]
     ///
15   I declare under penalty of perjury under the laws of the State of California and the United States
     of America that the above is true and correct. Executed on the 15th day of May 2024.
16
17   /s/ Reshma Kamath
     Reshma Kamath
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1    SERVICE LIST
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4    Jason S. Takenouchi
     E.: JTakenouchi@kasowitz.com
5
     Address: Kasowitz Benson Torres LLP
6    101 California Street Suite 3950, San Francisco, CA 94111
     Tel. (415) 655-4356 Fax. (415) 520-9237
7    Attorneys for Defendants ITRIA VENTURES, LLC, a Delaware LLC; AMIT MISHRA, an
     individual; BIZ2CREDIT, INC., a New York Corporation; PATRICK COLE, an individual with
8
     the pseudonym,
9
     Defendant SUMMIT ARORA (TAKENOUCHI failed to sign a waiver)
10
     i    Ass-licking is a vulgar, offensive, and coarse slang term in North American
11
     English that means to excessively praise or flatter someone to gain favor or
12
     advantage. It can also be used as an adjective to describe something that is
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     characterized by excessive praise or flattery. For example, some might
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     describe behavior as ass-licking if it appears too friendly to someone in
15
     authority and shows that someone is always ready to do what they want.
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     ii   Ass-licking is a vulgar, offensive, and coarse slang term in North American
17
     English that means to excessively praise or flatter someone to gain favor or
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     advantage. It can also be used as an adjective to describe something that is
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     characterized by excessive praise or flattery. For example, some might
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     describe behavior as ass-licking if it appears too friendly to someone in
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     authority and shows that someone is always ready to do what they want.
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